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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 0:18-cv-61687-UU

 JIMMIE LEE,

         Plaintiff,
 v.

 I.C. SYSTEM, Inc.

       Defendant.
 ____________________________________/

                                   ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court sua sponte. The Court has reviewed the pertinent

 portions of the record and is otherwise fully advised in the premises.

         On July 23, 2018, Plaintiff filed his complaint with the Court. D.E. 1. However, as of as

 of August 10, 2018, Plaintiff has not filed a verified affidavit of service as to Defendant, nor

 otherwise apprised the Court as to his efforts in effecting service on Defendant. Accordingly, it is

         ORDERED AND ADJUDGED that Plaintiff shall show cause in writing as to his efforts

 in effecting service on Defendant by Wednesday, August 15, 2018. Failure to respond to this

 Order may result in dismissal of this action against Defendants without further notice.

         DONE AND ORDERED in Chambers at Miami, Florida, this _10th__ day of August,

 2018.


                                                      _______________________________
                                                      URSULA UNGARO
                                                      UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record
